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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA,                       :
                                                :
                                                :
                v.                              :           Cr. No. 21-cr-00165-TSC
                                                :
DONA SUE BISSEY,                                :
                                                :
                  Defendant.                    :
____________________________________            :

                                            ORDER

        Before the Court is a Joint Motion to Convert Status to Plea Hearing. For the reasons set

forth therein, it is hereby

        ORDERED that the current status set for 10:00 a.m. on July 19, 2021 be vacated; and it

is further

        ORDERED that a video conference plea hearing be scheduled for July 19, 2021 at 10:00

a.m.



        DATE:

                                                                  _________________________
                                                                  Tanya S. Chutkan
                                                                  United States District Judge
